                  Case
                   Case21-10912
                         20-14640 Doc
                                   Doc14-2
                                        27                 Filed 10/20/20
                                                                 09/29/21 Entered 10/20/20
                                                                                    09/29/21 09:09:10
                                                                                             11:30:29                                Desc Main
                                                                                                                                          Exhibit
                                                           Document
                                                                  B Page  Page
                                                                            1 of16
                                                                                9 of 24
                                                                                                                                        EXHIBIT B
Fill in this information to identify your case:                                                                                         PRIOR CASE
Debtor 1              Joseph                    O                        Givens
                      First Name                Middle Name              Last Name                            Check if this is:
Debtor 2
(Spouse, if filing)   First Name                Middle Name              Last Name                               An amended filing

United States Bankruptcy Court for      Northern                   District of Illinois                           A supplement showing post-petition chapter 13
the:                                                                                                              expenses as of the following date:
                                                                               (State)
Case number 20-14640
(If known)                                                                                                        MM / DD / YYYY

Official Form 106I
Schedule I: Your Income - Amended                                                                                                                           12/15
Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally
responsible for supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include
information about your spouse. If you are separated and your spouse is not filing with you, do not include information about your
spouse. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

Part 1: Describe Employment

 1. Fill in your employment                                           Debtor 1                                       Debtor 2
    information.
                                        Employment status                 Employed                                      Employed
     If you have more than one job,
     attach a separate page with                                          Not Employed                                  Not Employed
     information about additional
     employers.                         Occupation                   Dietary Aide
     Include part time, seasonal, or    Employer's name              Montgomery Place
     self-employed work.
                                        Employer's address           5550 S Shore Dr
     Occupation may include student                                   Number Street                                  Number Street
     or homemaker, if it applies.




                                                                     Chicago              Illinois    60637
                                                                     City                 State       Zip Code       City                State   Zip Code

                                        How long employed            2 weeks
                                        there?

 Part 2: Give Details About Monthly Income

 Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
 spouse unless you are separated.
 If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If you need
 more space, attach a separate sheet to this form.
                                                                                               For Debtor 1         For Debtor 2 or
                                                                                                                    non-filing spouse
   2. List monthly gross wages, salary, and commissions (before all payroll         2.                $1,046.50
      deductions.) If not paid monthly, calculate what the monthly wage would
      be.
   3. Estimate and list monthly overtime pay.                                       3.                  + $0.00
   4. Calculate gross income. Add line 2 + line 3.                                  4.                $1,046.50




   Official Form 106I                                             Schedule I: Your Income                                                        page 1
              Case
               Case21-10912
                     20-14640 Doc
                               Doc14-2
                                    27                       Filed 10/20/20
                                                                   09/29/21 Entered 10/20/20
                                                                                      09/29/21 09:09:10
                                                                                               11:30:29                                Desc Main
                                                                                                                                            Exhibit
                                                             Document
                                                                    B Page  Page
                                                                              2 of17
                                                                                  9 of 24
Debtor 1Joseph                             O                          Givens                      Case number (if         20-14640
         First Name                        Middle Name                Last Name                   known)
                                                                                            For Debtor 1           For Debtor 2 or
                                                                                                                   non-filing spouse
  Copy line 4 here                                                                4.              $1,046.50
5. List all payroll deductions:
   5a. Tax, Medicare, and Social Security deductions                              5a.                 $80.06
   5b. Mandatory contributions for retirement plans                               5b.                  $0.00
   5c. Voluntary contributions for retirement plans                               5c.                  $0.00
   5d. Required repayments of retirement fund loans                               5d.                  $0.00
   5e. Insurance                                                                  5e.                  $0.00
   5f. Domestic support obligations                                               5f.                  $0.00
   5g. Union dues                                                                 5g.                  $0.00
   5h. Other deductions. Specify:                                                 5h. +                $0.00 +
6. Add the payroll deductions. Add lines 5a + 5b + 5c + 5d + 5e +5f + 5g          6.                  $80.06
+5h.

7. Calculate total monthly take-home pay. Subtract line 6 from line 4.            7.                $966.44

8. List all other income regularly received:
   8a. Net income from rental property and from operating a
       business, profession, or farm
       Attach a statement for each property and business showing
       gross receipts, ordinary and necessary business expenses, and
       the total monthly net income.                                              8a.                  $0.00
   8b. Interest and dividends                                                     8b.                  $0.00
   8c. Family support payments that you, a non-filing spouse, or a
       dependent regularly receive
       Include alimony, spousal support, child support, maintenance,
       divorce settlement, and property settlement.                               8c.                  $0.00
   8d. Unemployment compensation                                                  8d.                  $0.00
   8e. Social Security                                                            8e.                  $0.00
   8f. Other government assistance that you regularly receive
       Include cash assistance and the value (if known) of any non-
       cash assistance that you receive, such as food stamps (benefits
       under the Supplemental Nutrition Assistance Program) or
       housing subsidies
       Specify:
        Food Assistance Programs Income                                           8f.               $198.00
   8g. Pension or retirement income                                               8g.                  $0.00
   8h. Other monthly income. Specify:                                             8h. +                $0.00 +
9. Add all other income Add lines 8a + 8b + 8c + 8d + 8e + 8f +8g + 8h.           9.                 $198.00

10.Calculate monthly income. Add line 7 + line 9.                                 10.              $1,164.44 +                          =              $1,164.44
   Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse

11. State all other regular contributions to the expenses that you list in Schedule J.
   Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and other
   friends or relatives.
   Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
   Specify:                                                                                                                             11. +               $0.00

12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.                   12.
   Write that amount on the Summary of Schedules and Statistical Summary of Certain Liabilities and Related Data, if it applies                        $1,164.44
                                                                                                                                                Combined
                                                                                                                                                monthly income
13. Do you expect an increase or decrease within the year after you file this form?
        No.

                         Client just started with Amazon and has not received any stubs yet. Income for Amazon is estimated.
        Yes. Explain:




  Official Form 106I                                                 Schedule I: Your Income                                                       page 2
                       Case
                        Case21-10912
                              20-14640 Doc
                                        Doc14-2
                                             27              Filed 10/20/20
                                                                   09/29/21 Entered 10/20/20
                                                                                      09/29/21 09:09:10
                                                                                               11:30:29                                Desc Main
                                                                                                                                            Exhibit
                                                             Document
                                                                    B Page  Page
                                                                              3 of18
                                                                                  9 of 24
 Fill in this information to identify your case:
 Debtor 1               Joseph                      O                      Givens
                        First Name                  Middle Name            Last Name
 Debtor 2
 (Spouse, if filing)    First Name                  Middle Name            Last Name
 United States Bankruptcy Court for the:     Northern                District of Illinois
                                                                                 (State)
 Case number            20-14640
 (If known)
                                                                                                                                                        Check if this is an
Official Form 106Dec                                                                                                                                    amended filing


Declaration About an Individual Debtor's Schedules - Amended                                                                                                          12/15

If two married people are filing together, both are equally responsible for supplying correct information.
You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or obtaining
money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both. 18
U.S.C. §§ 152, 1341, 1519, and 3571.

 Part 1:       Sign Below

       Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

               No
              Yes. Name of person                                            Attach Bankruptcy Petition Preparer's Notice, Declaration, and
                                                                             Signature (Official Form 119).




       Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and
       that they are true and correct.

 û Signature
    {signature:debtor}
             of Debtor 1
                                                                                     û Signature of Debtor 2
             10/19/2020
       Date {date:debtor____________}                                                       Date
             MM/DD/YYYY                                                                            MM/DD/YYYY




                                                                                                                                              {initials:debtor}

   Official Form 106Dec                                 Declaration About an Individual Debtor's Schedules                                                page 1


  Document Ref: S4BRL-ITR7U-NY6YG-VAV5U                                                                                                                           Page 1 of 1
Case
 Case21-10912
       20-14640 Doc
                 Doc14-2
                      27        Filed 10/20/20
                                      09/29/21 Entered 10/20/20
                                                         09/29/21 09:09:10
                                                                  11:30:29   Desc Main
                                                                                  Exhibit
                                Document
                                       B Page  Page
                                                 4 of19
                                                     9 of 24



                     Signature Certificate
                 Document Ref.: S4BRL-ITR7U-NY6YG-VAV5U

 Document signed by:

                   Joseph Givens
                   Verified E-mail:
                   joseph_givens@yahoo.com

                   IP: 172.58.139.112      Date: 19 Oct 2020 16:33:35 UTC



                       Document completed by all parties on:
                           19 Oct 2020 16:33:35 UTC
                                         Page 1 of 1




             Signed with PandaDoc.com
             PandaDoc is the document platform that boosts your
             company's revenue by accelerating the way it transacts.
                       Case
                        Case21-10912
                              20-14640 Doc
                                        Doc14-2
                                             27                      Filed 10/20/20
                                                                           09/29/21 Entered 10/20/20
                                                                                              09/29/21 09:09:10
                                                                                                       11:30:29                              Desc Main
                                                                                                                                                  Exhibit
                                                                     Document
                                                                            B Page  Page
                                                                                      5 of20
                                                                                          9 of 24
 Fill in this information to identify your case:
 Debtor 1               Joseph                           O                             Givens
                        First Name                       Middle Name                   Last Name
                                                                                                                  Check if this is:
 Debtor 2
 (Spouse, if filing)    First Name                       Middle Name                   Last Name                        An amended filing

 United States Bankruptcy Court for the:          Northern                       District of Illinois                   A supplement showing post-petition chapter 13
                                                                                                                        expenses as of the following date:
                                                                                             (State)
 Case number            20-14640
 (If known)                                                                                                             MM / DD / YYYY

Official Form 106J
Schedule J: Your Expenses - Amended                                                                                                                                  12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question.
 Part 1:       Describe Your Household
 1. Is this a joint case?
              No. Go to line 2

              Yes. Does Debtor 2 live in a separate household?
                         No
                         Yes. Debtor 2 must file Official Forms 106J-2, Expenses for Separate Household of Debtor 2.
 2. Do you have dependents?                 No
    Do not list Debtor 1 and                Yes. Fill out this information for      Dependent's relationship to        Dependent's          Does dependent live
    Debtor 2.                               each dependent                          Debtor 1 or Debtor 2               age                  with you?
                                                                                    Child                              4 months                No.
                                                                                                                                              Yes.
 3. Do your expenses include
    expenses of people other                No
    than
    yourself and your                       Yes
    dependents?

 Part 2:       Estimate Your Ongoing Monthly Expenses
 Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
 expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
 applicable date.
 Include expenses paid for with non-cash government assistance if you know the value of
 such assistance and have included it on Schedule I: Your Income (Official Form B 106I.)                                                             Your expenses
  4. The rental or home ownership expenses for your residence. Include first mortgage payments and                                                                 $0.00
      any rent for the ground or lot. 4.                                                                                                      4.
       If not included in line 4:
       4a. Real estate taxes                                                                                                                  4a                   $0.00
       4b. Property, homeowner's, or renter's insurance                                                                                      4b.                   $0.00
       4c. Home maintenance, repair, and upkeep expenses                                                                                     4c.                   $0.00
       4d. Homeowner's association or condominium dues                                                                                       4d.                   $0.00




     Official Form 106J                                                      Schedule J: Your Expenses                                                    page 1
               Case
                Case21-10912
                      20-14640 Doc
                                Doc14-2
                                     27                         Filed 10/20/20
                                                                      09/29/21 Entered 10/20/20
                                                                                         09/29/21 09:09:10
                                                                                                  11:30:29                            Desc Main
                                                                                                                                           Exhibit
                                                                Document
                                                                       B Page  Page
                                                                                 6 of21
                                                                                     9 of 24
Debtor 1 Joseph                             O                            Givens                     Case number (if known) 20-14640
          First Name                        Middle Name                  Last Name


                                                                                                                                             Your expenses
5. Additional mortgage payments for your residence, such as home equity loans                                                          5.                $0.00
6. Utilities:
   6a. Electricity, heat, natural gas                                                                                                  6a.               $0.00
   6b. Water, sewer, garbage collection                                                                                                6b.               $0.00
   6c. Telephone, cell phone, Internet, satellite, and cable services                                                                  6c.              $65.00
   6d. Other. Specify:                                                                                                                 6d                $0.00
7. Food and housekeeping supplies                                                                                                      7.            $260.00
8. Childcare and children's education costs                                                                                            8.                $0.00
9. Clothing, laundry, and dry cleaning                                                                                                 9.               $30.00
10. Personal care products and services                                                                                                10.              $39.00
11. Medical and dental expenses                                                                                                        11.              $25.00
12. Transportation. Include gas, maintenance, bus or train fare.                                                                       12.           $150.00
    Do not include car payments
13. Entertainment, clubs, recreation, newspapers, magazines, and books                                                                 13.               $0.00
14. Charitable contributions and religious donations                                                                                   14.               $0.00
15. Insurance.
   Do not include insurance deducted from your pay or included in lines 4 or 20.
   15a. Life insurance                                                                                                                15a                $0.00
   15b. Health insurance                                                                                                              15b                $0.00
   15c. Vehicle insurance                                                                                                             15c            $150.00
   15d. Other insurance. Specify:                                                                                                     15d                $0.00
16. Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
   Specify:                                                                                                                                              $0.00
                                                                                                                                       16
17. Installment or lease payments:
   17a. Car payments for Vehicle 1                                                                                                    17a                $0.00
   17b. Car payments for Vehicle 2                                                                                                    17b                $0.00
   17c. Other. Specify:                                                                                                               17c                $0.00
   17d. Other. Specify:                                                                                                               17d                $0.00
18. Your payments of alimony, maintenance, and support that you did not report as deducted from                                                          $0.00
    your pay on line 5, Schedule I, Your Income (Official Form 106I).                                                                  18.
19.Other payments you make to support others who do not live with you.
   Specify:                                                                                                                            19.               $0.00
20.Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.
   20a. Mortgages on other property                                                                                                   20a                $0.00
   20b. Real estate taxes.                                                                                                            20b                $0.00
   20c. Property, homeowner's, or renter's insurance                                                                                  20c                $0.00
   20d. Maintenance, repair, and upkeep expenses.                                                                                     20d                $0.00
   20e. Homeowner's association or condominium dues                                                                                   20e                $0.00




  Official Form 106J                                                    Schedule J: Your Expenses                                              page 2
              Case
               Case21-10912
                     20-14640 Doc
                               Doc14-2
                                    27                      Filed 10/20/20
                                                                  09/29/21 Entered 10/20/20
                                                                                     09/29/21 09:09:10
                                                                                              11:30:29                            Desc Main
                                                                                                                                       Exhibit
                                                            Document
                                                                   B Page  Page
                                                                             7 of22
                                                                                 9 of 24
Debtor 1 Joseph                           O                         Givens                      Case number (if known) 20-14640
         First Name                       Middle Name               Last Name
21.Other. Specify:                                                                                                          21                      $0.00

22. Calculate your monthly expenses.                                                                                                             $719.00
   22a. Add lines 4 through 21.                                                                                                                    $0.00
   22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2                                                          $719.00
   22c. Add line 22a and 22b. The result is your monthly expenses.                                                          22.
23.Calculate your monthly net income.
   23a. Copy line 12 (your combined monthly income) from Schedule I.                                                       23a                $1,164.44
   23b. Copy your monthly expenses from line 22 above.                                                                     23b                   $719.00
   23c. Subtract your monthly expenses from your monthly income.                                                                                 $445.44
        The result is your monthly net income.                                                                             23c

24. Do you expect an increase or decrease in your expenses within the year after you file this form?
    For example, do you expect to finish paying for your car loan within the year or do you expect your
    mortgage payment to increase or decrease because of a modification to the terms of your mortgage?
        No
        Yes

                  Explain here:




  Official Form 106J                                               Schedule J: Your Expenses                                               page 3
                       Case
                        Case21-10912
                              20-14640 Doc
                                        Doc14-2
                                             27              Filed 10/20/20
                                                                   09/29/21 Entered 10/20/20
                                                                                      09/29/21 09:09:10
                                                                                               11:30:29                                Desc Main
                                                                                                                                            Exhibit
                                                             Document
                                                                    B Page  Page
                                                                              8 of23
                                                                                  9 of 24
 Fill in this information to identify your case:
 Debtor 1               Joseph                      O                      Givens
                        First Name                  Middle Name            Last Name
 Debtor 2
 (Spouse, if filing)    First Name                  Middle Name            Last Name
 United States Bankruptcy Court for the:     Northern                District of Illinois
                                                                                 (State)
 Case number            20-14640
 (If known)
                                                                                                                                                        Check if this is an
Official Form 106Dec                                                                                                                                    amended filing


Declaration About an Individual Debtor's Schedules - Amended                                                                                                          12/15

If two married people are filing together, both are equally responsible for supplying correct information.
You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or obtaining
money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both. 18
U.S.C. §§ 152, 1341, 1519, and 3571.

 Part 1:       Sign Below

       Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

               No
              Yes. Name of person                                            Attach Bankruptcy Petition Preparer's Notice, Declaration, and
                                                                             Signature (Official Form 119).




       Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and
       that they are true and correct.

 û Signature
    {signature:debtor}
             of Debtor 1
                                                                                     û Signature of Debtor 2
             10/19/2020
       Date {date:debtor____________}                                                       Date
             MM/DD/YYYY                                                                            MM/DD/YYYY




                                                                                                                                              {initials:debtor}

   Official Form 106Dec                                 Declaration About an Individual Debtor's Schedules                                                page 1


  Document Ref: S4BRL-ITR7U-NY6YG-VAV5U                                                                                                                           Page 1 of 1
Case
 Case21-10912
       20-14640 Doc
                 Doc14-2
                      27        Filed 10/20/20
                                      09/29/21 Entered 10/20/20
                                                         09/29/21 09:09:10
                                                                  11:30:29   Desc Main
                                                                                  Exhibit
                                Document
                                       B Page  Page
                                                 9 of24
                                                     9 of 24



                     Signature Certificate
                 Document Ref.: S4BRL-ITR7U-NY6YG-VAV5U

 Document signed by:

                   Joseph Givens
                   Verified E-mail:
                   joseph_givens@yahoo.com

                   IP: 172.58.139.112      Date: 19 Oct 2020 16:33:35 UTC



                       Document completed by all parties on:
                           19 Oct 2020 16:33:35 UTC
                                         Page 1 of 1




             Signed with PandaDoc.com
             PandaDoc is the document platform that boosts your
             company's revenue by accelerating the way it transacts.
